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4
     Attorney for Defendant
5    BRIAN STONE

6
                          IN THE UNITED STATES DISTRICT COURT
7
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
8

9
     UNITED STATES OF AMERICA,            )   Case No.: 2:16 CR 038 MCE
10                                        )
                       Plaintiff,         )   STIPULATION AND ORDER CONTINUING
11                                        )   JUDGMENT AND SENTENCING
     vs.                                  )
12                                        )   Date: September 6, 2018
     BRIAN STONE,                         )   Judge: Hon. Morrison C. England, Jr.
13                                        )   Time: 10:00 a.m.
                       Defendant.         )
14                                        )

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16         The parties hereby stipulate the following:

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           1. Judgment and sentencing in this matter is presently set for July 12,
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             2018.   Counsel for the parties request the date for judgment and
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             sentencing be continued to September 6, 2018 at 10:0 a.m.     Assistant
20
             U.S. Attorney Michael Anderson has been advised of this request and
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             has no objection.   U.S. Probation has also been advised of this
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             request and has no objection.    The parties request the Court adopt
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             the following schedule pertaining to the presentence report:
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             Judgment and Sentencing date:                                9/6/18
25
             Reply, or Statement of Non-Opposition:                       8/30/18
26
             Motion for Correction of the Presentence Report
27           Shall be filed with the Court and served on the
             Probation Officer and opposing counsel no later
28           than:                                                        8/23/18
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               The Presentence Report shall be filed with the
2              Court and disclosed to counsel no later than:               8/16/18

3              Counsel’s written objections to the Presentence
               Report Shall be delivered to the probation officer
4              and opposing Counsel no later than:                         8/9/18

5              The Presentence Report shall be filed with the
               Court And disclosed to counsel no later than:               7/26/18
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8    Dated:   July 10, 2018                       /s/ John R. Manning
                                                  JOHN R. MANNING
9                                                 Attorney for Defendant
                                                  Brian Stone
10

11   Dated:   July 10, 2018                       McGregor W. Scott
                                                  United States Attorney
12
                                                  by: /s/ Michael D. Anderson
13                                                MICHAEL D. ANDERSON
                                                  Assistant United States Attorney
14

15                                        ORDER

16        IT IS SO ORDERED.

17   Dated:   July 17, 2018

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